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APPEALS FoR THE ELEVENTH CRC IT

 

 

No. 18—-))693-EE

 

 

DONATHAN TYLER PRIVE,

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VS,

UVITED STATES OF AMERICA

Respondent Appellee.

 

 

 

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FOR THE MIDDLE DISTRICT OF FLORIDA
Numbers bo :|4-c@-33-ORL-IBKRS & bI7-~Cv—|448-ORL-ABKRS

 

 

 

 

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CORPORATE DISCLOSURE STATEMENT

 

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Assistant United Stotdes Atoenren
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